
Pennington, J.
The reason assigned for the reversal of the judgment of the justice in this case, is, that the state of demand filed by the plaintiff, is not agreeable to the style of the action before the court below, and is insufficient in law *285for tlie plaintiff to obtain a judgment upon. The style of action in the court below, w*as an action of debt, and the state of demand is expressly in debt, on an assigned note; but the state of demand states the plaintiff to be assignee, and the justice has not entered in his docket that the action was brought by the plaintiff as assignee, nor was it necessary for him to do it; the plaintiff brings his action in his own name, and in the state of demand, he makes out his cause of action to arise on a note assigned to him in due manner; he does not sue in right of another, but in his own right. It has been decided, even in qui tam actions, that the plaintiff may bring his action generally, and declare specially; there is therefore, nothing in this objection. As to the insufficiency of the state of demand, I think also that there is nothing in the objection taken on that ground. The state of demand is as follows:



I am of opinion that the cause of action is sufficiently set out in the state of demand, and that judgment be affirmed. The other judges agreeing in this opinion,
The judgment was affirmed.
Cited in Bennington Iron Co. v. Rutherford, 3 Harr. 158.
